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                            UNITED    STATES     DISTRICT   COURT
                            EASTERN DISTRICT        OP VIRGINIA
                                     Norfolk Division


   DENA LINDSAY-FELTON,


                    Plaintiff,

   V.                                                                 Civil No.    2:17cv559



   FQSR, LLC,      d/b/a KBP FOODS,

                    Defendant.



                                   OPINION AND      ORDER


         This    matter    is    before    the    Court    on     a    motion    for    summary

   judgment      filed     by    defendant       FQSR,     LOG,        d/b/a      KBP    Foods,

   ("Defendant," or "KBP").           ECF No. 31.         After examining the briefs

   and   record,     the   Court   finds    that    oral    argument        is    unnecessary

   because the facts and legal contentions are adequately presented,

   and oral argument would not aid in the decisional process.                               Fed.

   R. Civ. P. 78(b); E.D. Va. Loc. R. 7(J).                 For the reasons set forth

   below, Defendant's motion is GRANTED in part and DENIED in part.

                                      I. Backgroimd

         Plaintiff, Dena Lindsay-Felton ("Plaintiff")                       is a former KBP

   employee/store-manager          who     resigned        from       her   employment        on

   September 20,      2016,     based on what she characterizes as a                    hostile

   work environment        and discrimination based on her race                        (African-

   American) .     During the period immediately prior to her resignation,

   Plaintiff was a manager of a KBP restaurant, and her supervisor.
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   Susheel "Shue" Kumar ("Shue"), was a KBP "Area Coach" responsible

   for     overseeing     multiple      restaurant      locations.      During      her

   deposition,      Plaintiff testified that her relationship with Shue

   began     to   break   down    during     the   last   several    months   of    her

   employment, beginning with a disagreement over inventory numbers

   because Plaintiff would not falsify records as Shue purportedly

   directed.       From   that    point    forward,    Shue   repeatedly yelled at

   Plaintiff,      demeaned her in front of her store employees, pointed

   his finger in her face on at least one occasion,                  and engaged in

   other harassment that Plaintiff asserts ultimately caused her to

   resign.        Shue also engaged in behavior that             Plaintiff asserts

   demonstrates     a   link between her      race    and Shue's harassment.        Now


   at issue on summary judgment are Plaintiff's race-based hostile

   work     environment     claim,        constructive     discharge    claim,      and

   retaliation claim advanced under Title VII of the Civil Rights Act

   of    1964.


                                 II.   Standard of Review


           The Federal Rules of Civil Procedure provide that a district

   court shall grant summary judgment in favor of a movant if such

   party "shows that there is no genuine dispute as to any material

   fact and the movant is entitled to judgment as a matter of law."

   Fed. R. Civ. P. 56(a).          The mere existence of some alleged factual

   dispute between the parties "will not defeat an otherwise properly

   supported motion for summary judgment;                 the requirement is       that
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   there be no genuine issue of material fact."                        Anderson v. Liberty

   Lobby Inc., 477 U.S. 242, 247-48                  (1986).

          If a movant has properly advanced evidence supporting entry

   of summary judgment,              the non-moving party may not rest upon the

   mere allegations of               the pleadings,      but        instead must set        forth

   specific     facts      in    the     form   of   exhibits        and    sworn    statements

   illustrating a genuine issue for trial.                     Celotex Corp. v. Catrett,

   477 U.S. 317, 322-24 (1986).                 "A genuine question of material fact

   exists where, after reviewing the record as a whole, a court finds

   that a reasonable jury could return a verdict for the nonmoving

   party."     Dulaney v. Packaging Corp. of Am., 673 F.3d 323, 330 {4th

   Cir.      2012)      (citation          omitted),                "Because       'credibility

   determinations,         the weighing of the evidence,                   and the drawing of

   legitimate inferences from the facts are jury functions, not those

   of a    judge,'"     the Court must only evaluate the evidence to the

   extent     necessary         to    determine      whether        there    is    "'sufficient

   disagreement       to   require        submission     to     a    jury or      whether    [the

   evidence]    is so one-sided that one party must prevail as a matter

   of law."     McAirlaids,           Inc. v. Kimberly-Clark Corp.,               756 F.3d 307,

   310    (4th Cir.   2014)          (quoting Anderson,        477 U.S. at 255,        251-52).

   In making such determination,                "the district court must              'view the

   evidence in the light most favorable to the'                             nonmoving party."

   Jacobs V. N.C. Admin. Office of the Courts, 780 F.3d 562, 568 {4th

   Cir. 2015)    (quoting Tolan v. Cotton, 572 U.S. 650, 657 (2014)).
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                                        III.     Discussion


          A review of Defendant's                filings     and exhibits,            as    well     as

   Plaintiff's          opposition       brief    and    exhibits,          demonstrates            the

   validity behind Defendant's assertions that:                         (1)    Plaintiff does

   not    challenge        the    vast       majority   of     the    facts      contained           in

   Defendant's statement of "Undisputed Facts"; and                            (2)    Plaintiff's

   opposition brief relies on citations to deposition excerpts that

   were   not     provided       to    the    Court,    thus   requiring         the       Court     to

   disregard the bulk of Plaintiff's supplemental factual allegations

   because       they    lack evidentiary support.                   That     said,       the     Court

   disagrees        with      Defendant's         characterization             of         affidavits

   submitted by          Plaintiff       as    being based      solely on            inadmissible

   hearsay rather than on first-hand knowledge.^                       The Court also notes

   that, when construed in Plaintiff's favor, the transcript excerpts

   from Plaintiff's own deposition that are before                             the Court           lend

   support to Plaintiff's hostile work environment claim.

                                 A.   Hostile Work Environment


          Considering first Plaintiff's hostile work environment claim,

   "[o]rdinarily,         to prove a          hostile work environment claim under

   Title VII, a plaintiff must show (1) unwelcome conduct;                                  (2)    that

   is    based    on    the   plaintiff's        [protected status];                (3)    which     is



   ^ Defendant does not present any deposition testimony from such individuals,
   nor any other evidence, suggesting that the affiants lack first-hand
   knowledge to support their key factual allegations. Rather, Defendant seeks
   to characterize the language used in the affidavits in Defendant's favor.
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   sufficiently       severe     or    pervasive      to    alter    her     conditions      of

   employment and to create an abusive work environment; and (4) which

   is   imputable     to   the   employer."          Strothers      v.     City of    Laurel,

   Maryland,     895 F.3d 317,        328    (4th Cir.      2018)    (internal quotation

   marks and citations omitted)Here,                       the primary issue raised by

   Defendant     on    summary       judgment      challenges       the    second    element,

   although    Defendant       offers       some   argument     challenging         the    third

   element.


         As explained by the Fourth Circuit earlier this year:

         The   second      element      of    a    hostile     environment      claim
         requires that the offending conduct be based on the
         employee's "race, color, religion, sex, or national
         origin." 42 U.S.C.A. § 2000e-2; see Ocheltree v. Scollon
         Prods•,      Inc.,    335    F.3d    325,   331     (4th   Cir.    2003)    (en
         banc). In other words, "Title VII does not prohibit all
         verbal or physical harassment in the workplace"—it is
         directed only at actions that occur "because of" one of
         the protected statuses.   Oncale v. Sundowner Offshore
         Servs., Inc., 523 U.S. 75, 80 (1998).    In determining
         whether       offensive       conduct       can      be    attributed        to
         discrimination against the employee's race or other
         protected status, courts must view the behavior in light
         of the social context surroimding the actions.   See id.

   Id. at 329.     Here, the following race-based facts and/or contextual

   facts are contained in the summary judgment record:

         (1) Sometime near the end of her employment. Plaintiff
         overheard her supervisor (Shue) speaking with three
         potential new employees, and when Shue discovered that
         one of the applicants forgot his ID, Shue "pointed his



   ^ Strothers was not itself a         "hostile work environment" case,            but in the
   context of reviewing the validity of the plaintiff's Title VII retaliation
   claim, the Fourth Circuit provided a detailed analysis on the hostile work
  environment standard as applied in this Circuit.
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        fingers at the guys and said, that's why you niggers^
        will never be nothing, will never amount to nothing.
        Who doesn't have -            -   who doesn't have ID on them?"               PI.
        Depo. Tr.        74,    ECF No.     32-1.      When Plaintiff recounted
         this     same     incident        at    a     different      point     in    her
        deposition, she said that Shue's statement to the
        applicants was that they were "stupid n****rs." Id. at
        84 (emphasis added).

         (2) After Shue began harassing Plaintiff during the last
         several months of her employment, it was "[a]Imost every
         single day that            [Shue] made his rounds in [Plaintiff's]
         store"    that        he   referred     to    Plaintiff   as    "stupid"      or
         "dumb" rather than using her name.                   Id. at 68       (emphasis
         added).

        (3) Shue never let Plaintiff offer her opinion even
        though she was a store manager, and he repeatedly
        degraded her at work, with Shue on at least one occasion
        yelling at her while pointing his finger in her face in
         a threatening manner.              Id. at 68,      71, 73,     98, 131, 188.

        (4) Although Plaintiff never personally heard Shue use
        the n-word other than to the three applicants, she had
        been told by other employees that Shue had used such
        racially offensive term on other occasions.'* Id. at 78.

         (5)    Shue     used       the   term       "cockroaches"      to    refer    to
         employees at Plaintiff's store, and all of Plaintiff's
         employees   were   African-American   except   for   one
         Caucasian.  Plaintiff interpreted the word "cockroach"
         to be a derogatory racial term, with Shue at one point
         telling Plaintiff: "[A]11 you have is cockroaches in the


   3 The Court regrets the need to reproduce such viscerally offensive word in
   this written opinion.     However, having reviewed several other similar
   hostile work environment cases, and considering the fact that legal research
   often relies on word searches similar to a Google search, the Court believes
   that one direct quote, without redaction, is necessary.

   * To the extent Defendant challenges the adraissibility of such "hearsay
   statement," the Court notes that there are both "subjective and objective
   components" to the hostile work environment analysis, and the subjective
   component requires the plaintiff to perceive the environment as "hostile or
   abusive."    Hoyle v.   Freightliner,        LLC,   650 F.3d 321,    333   {4th Cir.     2011).
   Accordingly, the purported hearsay comments of other employees may be
   admissible not for their truth, but to demonstrate Plaintiff's subjective
   reaction when trying herself to understand why Shue was treating her so
   poorly in the workplace.
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          store.        Get rid of some of these cockroaches."                       Id.   at
          71-72,       174.


          (6)   Plaintiff believed that Shue didn't like her both
          because she was black and because she was a                         woman, and
          while   Plaintiff  does   not   advance  a                           sex-based
          discrimination claim,             her sworn testimony establishes
          (for summary judgment purposes)                    that Shue "told           [her]
          consistently that women of - of [her] culture .                        .    . were
          beneath him."  Id. at 174-75 (emphasis added).

          (7) As set forth in a           sworn declaration from Carl ton
          Davis, an individual             that previously worked with
          Plaintiff          and Shue: "In 2015, Mr. Shu[e] Kumar made
          comments           to  African-American  employees  and  often
          referred to them as             'n****rs'     and     ^cockroaches.'"            ECF
          No.   36-1.s


          (8) As set forth in a sworn declaration from Nasheda
          Foreman, an individual that previously worked with
          Plaintiff and Shue:            "I often heard Mr. Shu[e] Kumar make
          racially   derogatory   comments  to   African-American
          employees.   On several occasions, Mr. Kumar stated,
          'These n****rs don't know what they are doing.'  Others
                   .    witnessed       these    comments       and     Mr.   Kumar     made
          racially derogatory comments often."                         ECF No. 36-2.«




   5 Mr. Davis' declaration expressly states that he has "personal knowledge"
   of   the   facts    set    forth   therein.    ECF No.      36-1.     Moreover,     contrary     to
   Defendant's arguments in its reply brief, the existence of such affidavit
   plainly bolsters Plaintiff's case even if she was not personally aware of
   the referenced additional racial slurs because such acts provide a direct
   link   between      Shue's    mistreatment     of   KBP    subordinates     and    their      race.
   Defendant incorrectly cites King v. McMillan,                594 F.3d 301    (4th Cir. 2010)
   for the proposition that such testimony is inadmissible.                          However,     King
   expressly states that          "[tjestimony from other employees describing their
   own experiences of harassment by the defendant is often relevant to a
   plaintiff's hostile work environment claim," thereafter recognizing that
   even if the plaintiff lacked knowledge of such events during the course of
   his or her employment, such evidence remains relevant to the second element
   of the hostile work environment t e s t .           Id.   a t 310


   ® Ms. Foreman's declaration expressly states that she has "personal
   knowledge" of the facts set forth therein. ECF No. 36-2. Moreover, as with
   Mr. Davis' affidavit, Ms. Foreman's affidavit plainly bolsters Plaintiff's
   efforts    to link Shue's unwelcomed conduct with P l a i n t i f f ' s race.
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   Considering such evidence in a light most favorable to Plaintiff,

   the Court    finds     that there is     sufficient evidence in the record

   for a reasonable juror to conclude that Shue's mistreatment of

   Plaintiff occurred as a          result of her race.


           First,    as   the    Fourth   Circuit    has    recognized    on   multiple

   occasions,       "the use of the word        'n[****]r'      is pure anathema to

   African-Americans,           as it is to all of us" and such word "is the

   kind of insult that can create an abusive working environment in

   an instant" as it is "degrading and humiliating in the extreme."

   Pryor v. United Air Lines, Inc., 791 F.3d 488, 496 (4th Cir. 2015)

   (internal citations and quotation marks omitted); see Ayissi-Etoh

   V. Fannie Mae, 712 F.3d 572, 577 (D.C. Cir. 2013}                 ("As other courts

   have observed, perhaps no single act can more quickly alter the

   conditions of employment than the use of an unambiguously racial

   epithet such as 'n[****]r' by a supervisor.")                   (internal quotation

   marks     and     citations      omitted);       see     also    Boyer-Liberto     v.

   Fontainebleau Corp.,           786 F.3d 264, 280        (4th Cir. 2015)     (en banc)

   ("'[I]n my view, being called the n-word by a supervisor—as [the

   plaintiff] alleges happened to him-suffices by itself to establish

   a   racially hostile work environment."                (quoting Ayissi-Etoh,      712

   F.3d at 580 (Kavenaugh, J., concurring))).                   While Shue's alleged

   use of such toxic term was not directed at Plaintiff,                  i t was used

   in the workplace and in Plaintiff's presence.                    Additionally,    the

   context of Shue's use of such degrading term involved referencing
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  workplace           conduct       of     individuals        subordinate            to     Shue,        as

   contrasted with its use while telling a crude joke or in the course

  of   recounting           someone       else's    prior     statement.             Moreover,          the

   speaker was an area manager who was superior to all other employees

   in the store, including Plaintiff.                    When considered in conjunction

  with     Mr.        Davis'      and    Ms.   Foreman's           declarations,          the     record

  demonstrates that Shue's use of such term to reference workplace

  conduct        of    subordinate         African-American               employees       was    not     an

   isolated      incident.          Finally,       as   set    forth        in both Plaintiff's

  deposition and Ms. Foreman's affidavit, the context of Shue's use

  of   such      word       is    sufficient       to   support       a     reasonable          juror    in

   concluding that Shue repeatedly voiced his racist belief that there

   is a link between African Americans and stupidity.                                 Cf. Savage v.

  Maryland,       896       F.3d 260,      277     (4th Cir.        2018)     (noting that when

  racial      slurs         are    used    repeatedly         to     insult       African-American

   "employees         and    customers,"         such   slurs       can     create    "an       unlawful

  hostile        work       environment"         even    if        they     are      "not       directed

  specifically at the complaining employee").

         While a single use of the n-word in the workplace directed at

  someone        other      than    the    complainant        is     likely       insufficient           to

  establish a race-based hostile work environment,                                here.     Plaintiff

  has presented evidence illustrating more than a single incident.

  Moreover,       Plaintiff's efforts to link the                     "unwelcome conduct"               to

  her race do not rely solely on Shue's use of the n-word,                                       instead
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   highlighting Shue's       repeated workplace     statements      referring     to

   Plaintiff's employees (all but one of whom were African-American)

   as "cockroaches."       Furthermore,   Plaintiff's evidence on the use of

   this term goes beyond her own sworn statement, as another employee

   similarly attests that Shue directed such term at African-American

   employees.        Accordingly,   when coupled with Shue's use of the n-

   word    and   other   relevant    evidence,   such    additional    statements

   bolster Plaintiff's contention that Shue's ongoing mistreatment of

   her was motivated by her race.

          Second, in addition to the racial slurs. Plaintiff's evidence

   is siibject to being reasonably interpreted as demonstrating that

   Shue went a       step further by directly injecting Plaintiff's race

   into the equation by "consistently" explaining to Plaintiff that

   women of her culture were "beneath him."             Cf.   Strothers,   895 F.3d

   at 330.       In line with his expressly stated belief,            for several

   months near the end of Plaintiff's employment,              Shue consistently

   treated Plaintiff as if she was, in fact, "beneath him."                PI. Depo.

   Tr.    174-75.'    Furthermore,   when the relevant facts are construed




     The Court rejects Defendant's invitation to interpret the excerpts from
   Plaintiff's deposition that are in evidence in a manner that favors
   Defendant.  For example, the fact that Plaintiff stated in her deposition
   that she had one Caucasian employee working at her store does not establish
   that Shue's "cockroach" comments were addressed collectively at employees
   of multiple races as there is no evidence that the lone Caucasian store-
   employee was even present when Shue made such comments.       Similarly,
   Defendant's efforts to explain away Shue's comments,     that women of
   Plaintiff's culture were "beneath him," require a parsing of words in a
   manner that favors Defendant, which is simply not proper when evaluating
   Defendant's motion for summary judgment. On such latter point. Defendant

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   in   Plaintiff's        favor,     Shue's        workplace     statements     can    be

   interpreted as evidencing his racist belief that African-Americans

   are stupid, and he similarly called Plaintiff stupid or dumb at

   nearly every opportunity near the end of her employment.                       To the

   extent that questions exist as to whether Shue could have harassed

   Plaintiff      simply    because    she     was     his    subordinate      (i.e.,   he

   mistreated everyone that worked for him),                    or simply because she

   was a woman (i.e., he mistreated all women that worked for him),

   determining his motivation is a question for the jury in light of

   all the relevant facts and circumstances,                   which include evidence

   of racial animosity.®

         In sum, because the record reasonably supports a finding that

   there were multiple instances of race-based harassment during the

   relevant timeframe,        directed by a manager of multiple stores at

   both Plaintiff and her primarily African-American workforce,                         the




   also relies on a page of Plaintiff's deposition (page 176)             that Defendant
   did not present to the Court.       ECF No. 32-1.
   ®To the extent Defendant points to additional undisputed facts demonstrating
   that Shue held out another African-American employee (Mr. Davis) as a model
   for Plaintiff to emulate, such competing fact is a matter for the jury to
   weigh, as it is insufficient at the summary judgment stage to undercut the
   evidence favorable to Plaintiff, particularly when considering Plaintiff's
   theory that Shue's offensive behavior resulted from the fact that Plaintiff
   was an African-American subordinate that refused to "stay in her place."
   The fact that Shue previously promoted Plaintiff to store manager is another
   similar fact    that favors Defendant;       however,     the current record fails to
   establish how many applicants/candidates there were for such job and/or the
   ethnicity of such applicants/candidates.   To the extent that the workforce
   at the KBP location where Plaintiff was working prior to her promotion was
   similarly dominated by African-American employees. Plaintiff's earlier-in-
   time promotion could ultimately prove irrelevant to the calculus.


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   Court    rejects   Defendant's   contention           that    no   reasonable      juror

   could find that Plaintiff was subjected to severe and pervasive

   harassment as a     result of her race.          See Boyer-Liberto,          786 F.3d

   at 280    (discussing the fact that:       (1)    "harassment perpetrated by

   a supervisor against her sxibordinate" typically has a "particular

   threatening character";' and (2) that a reasonable jury could find

   that a hostile work environment existed based on a single incident

   if i t was sufficiently severe) .    Importantly, the jury will not be

   limited to considering only what it determines to be overtly racial

   comments, but also will be able to consider Shue's acts of ongoing

  harassment that the jury believes were motivated by the fact that

   Plaintiff    is African-American.        Id.     at    281    n.4;   see Gilliam v.

  S.C.     Dep't Of Juvenile Justice,       474     F.3d 134,         142-43   (4th Cir.

   2007)    (affirming summary judgment in the defendant's favor because

  harassing behavior by a        supervisor is not actionable under Title

  VII unless i t was motivated by the plaintiff's race, and the record

   in that case critically lacked "some independent evidence of racial

  animosity").

           To the extent it is not sufficiently addressed above,                       the

  Court      expressly   rejects    Defendant's            limited       challenge      to

  Plaintiff's     ability   to   demonstrate         the        third-element    of    her




  ' Here, not only was Shue Plaintiff's supervisor, but Plaintiff's facts
  indicate that Shue expressly told Plaintiff that company management would
  always believe his word over hers in the event of a dispute, thus
  illustrating the leverage he exerted over Plaintiff.

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  hostile work environment claim, which "requires that the offending

  conduct be sufficiently severe or pervasive to alter the conditions

  of     the     victim's        employment      and       create       an    abusive     working

  environment."            Strothers, 895 F.3dat 331 {internal quotation marks

  and citation omitted).               Such element has "both a                   subjective and

  objective          component,"       with    the     subjective            component    plainly

  satisfied in this case when the evidence is viewed in Plaintiff's


  favor        (to   include     the    fact    that       Plaintiff's         resignation      was

  effective immediately and expressly linked to Shue's on-the-job

  harassment).             "In   assessing     whether       harassment           is   objectively

  abusive,       courts must examine the totality of the circumstances,

   including         the    frequency     of    the        discriminatory          conduct;     its

  severity; whether i t is physically threatening or humiliating, or

  a mere offensive utterance; and whether i t unreasonably interferes

  with an employee's work performance."                           Id.    (internal quotation

  marks and citations omitted).

          Here,      the summary judgment record demonstrates that Shue's

  mistreatment of Plaintiff was ongoing over the course of several

  months       and   occurred every        time       he   was    in her       store,    that   his

  behavior was physically threatening on more than one occasion,

  that    he    humiliated       and   undercut       her    in   front      of   her   own   store




  ^0 Construed in Plaintiff's favor,           the record evidence illustrates that Shue
  got too close to Plaintiff in a threatening manner on multiple occasions.
  See PI. Depo. Tr. at 71 (indicating that Shue used threatening body language
  "all the time").

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   employees that she was responsible for managing on a daily basis

   (thereby impacting her ability to perform her job) ,                              and that he

   refused to listen to her feedback notwithstanding her managerial

   position, instead repeatedly calling her stupid and attempting to

   bully her into falsifying inventory numbers so that he could secure

   a   larger bonus.        See      id.    at   332    ("Heightened scrutiny,               unfair

   evaluations,     and arbitrary dress codes are likely to make a                                job

   more    difficult      and     trigger        responses      from     workers          who    feel

   compelled to protest their treatment, which may further interfere

   with their work.").          Additionally, Shue repeatedly told Plaintiff

   that her culture played a part in her being "beneath him" and used

   the n-word in her presence when chastising African-American job

   applicants       for     conduct         associated         with     their        prospective

   employment.       See Hoyle v.           Freight liner,      LLC,     650    F.3d 321,         333

   (4 th   Cir.     2011)       (explaining            that    the      "totality          of     the

   circumstances" inquiry applicable to the third prong of the hostile

   work    environment      claim      "includes        conduct       directed       not    at    the


   plaintiff"      because      it    turns      on     "the   nature     of        the    [entire]

   workplace      environment,"            as    contrasted       with        the    "individual

   dynamic"       between    the      plaintiff          and    the      alleged          harasser)

   (quotation marks and citations omitted).                       Shue's actions, viewed

   collectively and         in a      light      most    favorable       to    Plaintiff,        are

   sufficient for a reasonable juror to conclude that the "net effect

   . . . was an abusive environment likely to 'detract from employees'

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  job performance, discourage employees from remaining on the job,

  or keep them from advancing in their careers.'"                             Strothers,   895

  F.3d at 331 (quoting Harris v. Forklift Sys., Inc., 510 U.S. 17,

  22 (1993)) .    For all of these reasons. Defendant's summary judgment

  motion is denied as to Plaintiff's hostile work environment claim.

                  B. Constructive Discharge and Retaliation

        Turning next to Defendant's challenges to Plaintiff's claims

  asserting that she was constructively discharged due to her race

  and/or retaliated against by Defendant, Defendant argues that both

  claims   fail   based on         the   absence    of       evidence   demonstrating       an

  "adverse    employment      action,"      to     include      an    adverse     employment

  action in the form of a            "constructive discharge."                  In response,

  Plaintiff focuses on establishing that her theory of "constructive

  discharge"      supports     the       validity     of       both     her     constructive

  discharge claim and her retaliation claim.

                             1. Constructive Discharge

        Plaintiff's constructive discharge claim turns on "whether

  there is sufficient evidence demonstrating that,                        as a     result of

   [Shuel's   discriminatory         conduct,       [Plaintiff]         was    subjected    to

  circumstances      'so   intolerable        that       a    reasonable       person   would

  resign.'"       U.S.   Equal      Employment      Opportunity         Comm'n v.       Consol

  Energy, Inc., 860 F.3d 131, 144-45 (4th Cir. 2017)                          (quoting Green

  V.   Brennan,   136 S.     Ct.    1769,   1779     (2016)).         The intolerability

  standard requires "objective intolerability," but the controlling

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   legal test no longer requires a plaintiff to demonstrate that the

   defendant had a        "subjective intent to force a resignation."                        Id.

   As recently explained by the Fourth Circuit:

          Although hostile work environment claims are assessed
          under a "severe and pervasive" standard, constructive
          discharge claims are evaluated under an objective
          "intolerability" standard . . . . The "intolerability"
          standard governing constructive discharge claims is more
          stringent than the "severe and pervasive" standard for
          hostile work environment claims.               See Amirmokri v.         Bait.
          Gas   & Elec.    Co.,   60   F.3d    1126,     1133    (4th    Cir.     1995)
          (explaining that hostile work environment claims require
          "less     severe"   conditions       vis-a-vis         the    intolerable
          conditions necessary for constinictive discharge claims)


   Nnadozie v. Genesis Healthcare Corp.,                 730 F. App'x 151, 162               (4th

   Cir.    2018).     Accordingly,      "[c] onstructive discharge               claims are

   held to a high standard, and even truly awful working conditions

   may not rise to the level of constructive discharge."                         Tawwaab v.

  Virginia Linen Serv., Inc., 729 F. Supp. 2d 757, 783 (D. Md. 2010)

   (internal      quotation marks      and citation omitted).                It    is     well-

   established in this Circuit that mere                 "dissatisfaction with work

   assignments, a feeling of being unfairly criticized, or difficult

   or   unpleasant    working     conditions       are   not    so     intolerable      as    to

   compel a     reasonable person to resign."               Stennis v.          Bowie State

  Univ.,     716 F.    App'x 164,      167    (4th Cir.        2017)    (emphasis added)

   (quoting Honor v. Booz-Allen & Hamilton, Inc., 383 F.3d 180, 187

   (4th Cir. 2004)).




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        Applying such higher standard to the                             case-specific record

  before the Court,          no reasonable juror could conclude that Shue's

  alleged      race-based           harassment             rose         to     the     level       of

  "intolerability"        necessary         to    compel          a    reasonable       person     to

  resign.     Plaintiff's evidence fails to demonstrate how often Shue

  came to her store and belittled her, or how long he stayed at her

  store when he did visit, and she relies primarily on Shue yelling

  at her and repeatedly calling her stupid or dumb during the last

  several months of her employment.                   See Williams v. Giant Food Inc.,

  370 F.3d 423, 434          {4th Cir. 2004)           (finding that allegations that

  the plaintiff's supervisors               "yelled at her,                  told her she was a

  poor manager and gave her poor evaluations, chastised her in front

  of customers, and once required her to work with an injured back

             do     not   establish        the    objectively            intolerable       working

  conditions        necessary       to     prove       a     constructive            discharge").

  Plaintiff's deposition testimony,                   if credited by the factfinder,

  certainly reveals that Shue's visits to Plaintiff's store involved

  hostile    and     unjustified          criticism        and        insults,       coupled     with

  instances       directly     or    indirectly            linking           such    treatment     to

  Plaintiff's        race;      however,         such        alleged           mistreatment        is

  insufficient to establish "intolerability" of working conditions

  such that Shue's treatment of Plaintiff should be viewed by the

  law   as    the     functional          equivalent         of        termination.        Stated

  differently,       although       the    Court      finds           that    Boyer-Liberto      and

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  Strothers both support the viability of Plaintiff's hostile work

  environment claim,           such finding was a                  close call on this record,

  and   even   when      all    record       evidence         is       construed     in    Plaintiff's

  favor,    a reasonable juror could not conclude that Plaintiff can

  also clear the elevated bar necessary to establish constructive

  discharge.        See        Tawwaab,       729    F.       Supp.       2d    at   783-84     ("[The

  Plaintiff]      is only able to state the minimum required to sustain

  his   hostile     work       environment      claim,         and       thus    has      insufficient

  evidence     that      he    was     siibjected         to       a    truly    intolerable        work

  environment that would leave a                    reasonable person with no choice

  but   to resign.            [The Plaintiff's]            allegations           that      [his direct

  supervisor]      called        him   race-neutral                names,      inconvenienced        and

  undermined him in front of his superiors, and used sporadic racial

  epithets, even if true, are insufficient to establish intolerable

  conditions.").         Notably, even in describing her final conversation

  with Shue       that    caused Plaintiff               to    resign,         Plaintiff     does    not

  describe any overtly racial comments or Shue threatening her, but

  rather,    she provides another example of Shue calling her stupid

  and telling her that she should listen to him and do whatever he

  says.     PI.    Depo.       Tr.   97-99.         In sum.            Plaintiff's        constructive

  discharge claim fails as a matter of law.

                                        2.    Retaliation


          As to Plaintiff's retaliation claim.                           Plaintiff asserts that

  she was retaliated against after complaining to company management

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  about    Shue's       use   of    the    n-word.      To   establish       a    prima    facie

  retaliation claim under Title VII,                   a   plaintiff must demonstrate

  "(1)    she engaged in a protected activity;                    (2)    the employer acted

  adversely against           her;    and     (3)    there   was    a    causal    connection

  between the protected activity and the asserted adverse action."

  Strothers, 895 F.3d at 327 (quotation marks and citation omitted).

          Assuming that        Plaintiff       "engaged in a            protected activity"

  either        by     personally     reporting        Shue's      conduct        to     company

  management, or by convincing another employee to lodge an anonymous

  "hotline" complaint. Plaintiff's summary judgment brief appears to

  rely     on    her    "constructive        discharge"      to    prove     the       requisite

  "adverse action."            To    the    extent    Plaintiff         elects   to prove an

  "adverse action" through a theory of constructive discharge,                               her

  retaliation claim fails for the same reasons discussed immediately

  above.        In short.     Plaintiff fails to present sufficient evidence




     It is unclear whether Plaintiff seeks to rely on constructive discharge
  due to her belief that proving an "adverse employment action" is a necessary
  element of her retaliation claim, or whether she proceeds under such theory
  because, based on the facts, it is her only viable option.    Compare Boyer-
  Liberto, 786 F.3d at 281 (en banc) (listing the second element of a Title
  VII retaliation claim as requiring that the employer "took an adverse
  employment action against" the plaintiff) (emphasis added), with Strothers,
  895 F.3d at 327 n.3 (clarifying that the second element of a retaliation
  claim was apparently misstated in Boyer-Liberto in light of the Supreme
  Court's earlier-in-time opinion in Burlington N. & Santa Fe Ry. Co. v.
  White, 548 U.S. 53 (2006) as Burlington Northern rejected the "adverse
  employment action" requirement in favor of a less onerous "adverse action"
  requirement that "need not be employment-or workplace-related in order to
  sustain a retaliation claim"), and Lettieri v. Equant Inc., 478 F.3d 640,
  650 n.2 (4th Cir. 2007) (explaining that, in Burlington Northern, "the
  Supreme Court rejected our circuit's formulation of the second element of
  the prima facie case").

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  for a reasonable juror to conclude that she was constructively-

  discharged based on intolerable working conditions.

        Alternatively,             to     the     extent        that     Plaintiff's         summary

  judgment position is sxabject to being construed as arguing that

 Shue's       harassment          itself     constituted          the     requisite         "adverse

 action,"      even     if    it    did    not    rise     to   the     level    of    an   "adverse

 employment         action,"       Strothers,        895      F.3d at      327    n.3       (emphasis

 added), this Court would find that no reasonable juror could render

 a verdict in Plaintiff's favor on this record.                               The Supreme Court

 has    defined       the    contours       of    the    necessary       "adverse       action"    as

 requiring          "that    a     reasonable       employee          would     have    found     the

 challenged action materially adverse," meaning that the employer's

 reaction       to     the       protected        conduct       "might     have       dissuaded     a

 reasonable          worker        from     making       or     supporting        a     charge     of

 discrimination."            Burlington N.          & Santa Fe Ry.            Co. v. White,       548

 U.S.   53,    68    (2006) .

        Here, Plaintiff fails to point to any evidence of retaliatory

 acts      taken       by    Shue         after    she        complained         to    management.

 Accordingly,         critically absent from Plaintiff's evidence is any

  fact on which a reasonable juror could conclude that there was a

  causal    connection between Plaintiff's                       involvement          in reporting

  Shue to company management and Shue's treatment of Plaintiff.                                   See

  Guessous V.        Fairview Prop.         Investments,         LLC,    828 F.3d 208,        216-17

  {4th Cir.         2016)    (discussing the            fact     that a       retaliation claim

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 requires     more   demanding     proof        of    causation as      compared     to   a

 "status-based discrimination claim").                  Plaintiff fails to present

 evidence on which a reasonable juror could conclude:                        (1) that Shue

 was aware that Plaintiff was the person that complained to company

 management about his use of the n-word, Strothers, 895 F.3d at 336

  ("[N]o causal connection can exist between an employee's protected

 activity and an employer's adverse action if                        the     employer was

 unaware of the activity.") ; and (2) more importantly, even assuming

 in Plaintiff's favor that Shue possessed sufficient information to

 surmise      that   Plaintiff    was     behind       the    report    to    management.

 Plaintiff does not allege any facts suggesting that Shue increased

 the severity of his harassment after such report was made.                       Rather,

 a review of the portions of Plaintiff's deposition that are before

 the Court suggests that Shue continued to mistreat Plaintiff in

 the same way as he had been for several months—i.e.,                         the alleged

 hostile environment simply continued.                  See, e.g., PI. Depo. at 68

  (indicating that after the multi-month dispute between Plaintiff

 and   Shue    began,    Shue   spoke     to    her    in    an   inappropriate manner

 "almost every single           [time]"    that he          "made his   rounds"    to her

 store, with Shue calling her stupid and dumb and getting too close

 to her person in a threatening manner); id. at 72 (indicating that

 Plaintiff recalled Shue calling the store employees "cockroaches"

 closer in time         to when their dispute began than the                     time she

 resigned,     with her resignation occurring only weeks after the n-

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 word incident).         While Plaintiff does not have a clear recollection

 of exact dates, Defendant's unobjected to statement of "Undisputed

 Facts,"    which       is    supported by    citations     to   various   exhibits,

 establishes      that       the n-word incident occurred and was           reported

 sometime around September 9, 2016, with Plaintiff resigning less

 than two-weeks later.           As to Shue's conduct during the final weeks

 of her employment, the following exchange occurred at Plaintiff's

 deposition:

       Q.   What happened between September 6th and September 20th
       that you consider to be mental abuse?
       A.  The screaming, the yelling, cussing, finger-pointing in
       my face.  He approached me in an intimidating manner. Never
       been called out of my name.  N****r, stupid, or dumb.
       Q.  Did he ever call you the "N" word?
       A.   No.
       Q.  Is all of this that you just said: screaming, yelling,
       cussing, finger-pointing in your face, all took place between
       the time that Rusty came out to visit and talked to you and
       Shemekia about the Hotline complaint and your resignation?
       A.   I t was happening before that, ma'am.
       Q.   But was i t happening after as well?
       A.   Yes.


 PI.   Depo.      Tr.    188     (emphasis    added).       In   sum.   Plaintiff's

 allegations fall short of the showing necessary for a reasonable

 juror to conclude that Plaintiff was retaliated against as a result

 of reporting Shue to management and/or that any changes in Shue's

 conduct,   post-report,         rose   to   the   level   that would dissuade an

 employee from making such report in the first place.                      For these

 reasons. Plaintiff's retaliation claim fails regardless of whether




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it    is predicated on a            theory of        "constructive discharge"                   or a

theory of "adverse action" in the form of increased harassment.



                                      IV.    Conclusion


        For the reasons set forth in detail above, when the totality

of the relevant events are considered together and construed in

Plaintiff's        favor,       Plaintiff's         evidence          is    sufficient         for    a

reasonable        juror    to     conclude     that    Plaintiff            was    subjected         to

"severe and pervasive" harassment over the course of several months

as a    result of her race based on the conduct of her management-

level       immediate     supervisor.           While       a        reasonable         jury    could

ultimately        determine        that     Shue's     comments            about        Plaintiff's

"culture"      and use     of   the   term    "cockroach"            are   matters      untethered


to     Plaintiff's        race,     it      could    also       conclude          the     contrary,

particularly if it credits the evidence regarding Shue's repeated

use    of   the   n-word    in     the    workplace.            As    a    result,      the    record

demonstrates "sufficient disagreement" regarding critical facts so

as to require sxibmission of the hostile work environment claim to

a jury as the evidence is not "so one-sided that                              [Defendant] must

prevail as a matter of law."                 McAirlaids,         Inc,      756 F.3d at 310.




     The Court has considered the supplemental out-of-circuit district court
case submitted by Defendant.  ECF No. 43.  However, consideration of such
case does not alter this Court's conclusion in light of the case-specific
record and the Fourth Circuit's en banc opinion in Boyer-Liberto and more
recent panel decision in Strothers.

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 Defendant's       summary      judgment motion       is   therefore DENIED        as    to

 P l a i n t i f f ' s hostile work environment claim.


       In contrast. Defendant's summary judgment motion is GRANTED

 as to Plaintiff's claims that she was constructively discharged

 due to her race and/or retaliated against as a result of protected

 behavior.        The record evidence is insufficient as a                 matter of law


 to    demonstrate           that      Plaintiff's    working    conditions         were

 "intolerable," and/or that there was a                causal link between Shue's

 harassment       of    Plaintiff      and   her   involvement   in    reporting        his

 earlier-in-time use of a racial epithet.

       The Clerk is DIRECTED to send a copy of this Opinion and Order

 to a l l   counsel     of   record.


       IT   IS    SO   ORDERED.




                                                                     /s/
                                                              Mark    S.   Davis
                                                     United States District Judge
 Norfolk, Virginia
 November        *7 ; 2018




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